Case 1:24-cv-00799-RGA   Document 22-2   Filed 01/21/25   Page 1 of 21 PageID #: 156




                         EXHIBIT B
Case 1:24-cv-00799-RGA   Document 22-2   Filed 01/21/25   Page 2 of 21 PageID #: 157
Case 1:24-cv-00799-RGA   Document 22-2   Filed 01/21/25   Page 3 of 21 PageID #: 158
Case 1:24-cv-00799-RGA   Document 22-2   Filed 01/21/25   Page 4 of 21 PageID #: 159
Case 1:24-cv-00799-RGA   Document 22-2   Filed 01/21/25   Page 5 of 21 PageID #: 160
Case 1:24-cv-00799-RGA   Document 22-2   Filed 01/21/25   Page 6 of 21 PageID #: 161
Case 1:24-cv-00799-RGA   Document 22-2   Filed 01/21/25   Page 7 of 21 PageID #: 162
Case 1:24-cv-00799-RGA   Document 22-2   Filed 01/21/25   Page 8 of 21 PageID #: 163
Case 1:24-cv-00799-RGA   Document 22-2   Filed 01/21/25   Page 9 of 21 PageID #: 164
Case 1:24-cv-00799-RGA   Document 22-2 Filed 01/21/25   Page 10 of 21 PageID #:
                                     165
Case 1:24-cv-00799-RGA   Document 22-2 Filed 01/21/25   Page 11 of 21 PageID #:
                                     166
Case 1:24-cv-00799-RGA   Document 22-2 Filed 01/21/25   Page 12 of 21 PageID #:
                                     167
Case 1:24-cv-00799-RGA   Document 22-2 Filed 01/21/25   Page 13 of 21 PageID #:
                                     168
Case 1:24-cv-00799-RGA   Document 22-2 Filed 01/21/25   Page 14 of 21 PageID #:
                                     169
Case 1:24-cv-00799-RGA   Document 22-2 Filed 01/21/25   Page 15 of 21 PageID #:
                                     170
Case 1:24-cv-00799-RGA   Document 22-2 Filed 01/21/25   Page 16 of 21 PageID #:
                                     171
Case 1:24-cv-00799-RGA   Document 22-2 Filed 01/21/25   Page 17 of 21 PageID #:
                                     172
Case 1:24-cv-00799-RGA   Document 22-2 Filed 01/21/25   Page 18 of 21 PageID #:
                                     173
Case 1:24-cv-00799-RGA   Document 22-2 Filed 01/21/25   Page 19 of 21 PageID #:
                                     174
Case 1:24-cv-00799-RGA   Document 22-2 Filed 01/21/25   Page 20 of 21 PageID #:
                                     175
Case 1:24-cv-00799-RGA   Document 22-2 Filed 01/21/25   Page 21 of 21 PageID #:
                                     176
